           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION

                          CIVIL CASE NO. 1:05cv209
                        [Criminal Case No. 1:01cr52-7]


VENTURA GARCIA,             )
                            )
             Petitioner,    )
                            )
             vs.            )                        ORDER
                            )
UNITED STATES OF AMERICA, )
                            )
             Respondent.    )
                          )



      THIS MATTER is before the Court on the Petitioner’s pro se Motion for

Rule 59 [Doc. 11], motion for an extension of time 1 [Doc. 12], and Response

to Rule 59 Evidentiary Hearing [Doc. 13].



                            PROCEDURAL HISTORY

      The Petitioner was found guilty by a jury of conspiracy to possess with



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        The Petitioner mistakenly captioned his motion for an extension of time as an
Order. When the Clerk of Court mailed a file-stamped copy of this motion to him, the
Petitioner thought the document was an actual order from the Court. That mistake led
him to file the third document which he captioned a Response. [Doc. 13].

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intent to distribute at least fifty grams of methamphetamine.          He was

sentenced to 360 months of imprisonment. His conviction and sentence were

upheld on direct appeal. United States v. Garcia, 87 Fed.Appx. 323 (4 th Cir.

2004), certiorari denied 543 U.S. 846, 125 S.Ct. 289, 160 L.Ed.74 (2004).

      On February 8, 2005, the Petitioner filed his first motion pursuant to 28

U.S.C. §2255 to vacate, correct or set aside his conviction and sentence.

Garcia v. United States, Civil Case No. 1:05cv30. That motion was denied on

February 24, 2005.

      On May 11, 2005, the Petitioner filed his second motion pursuant to

§2255. Garcia v. United States, Civil Case No. 1:05cv209. That motion was

dismissed as successive on June 8, 2005. The Fourth Circuit dismissed the

Petitioner’s appeal from that decision. United States v. Garcia, 180 Fed.Appx.

434 (4 th Cir. 2006).



                                DISCUSSION

      More than three years after the dismissal of the Petitioner’s civil case,

he has moved pursuant to Federal Rule of Civil Procedure 59 for a new trial

and to amend his judgment of conviction. In this motion, the Petitioner claims




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Apprendi, Blakely and Booker2 error, illegal enhancement of his offense level

based on his role in the offense and possession of firearms, unlawful

attribution of drug quantities at sentencing, and ineffective assistance of

counsel.

      “There are three circumstances in which the district court can grant a

Rule 59(e) 3 motion: ‘(1) to accommodate an intervening change in controlling

law; (2) to account for new evidence not available at trial; or (3) to correct a

clear error of law or prevent manifest injustice.’” United States ex rel. Becker

v. Westinghouse Savannah River Co., 305 F.3d 284, 290 (4 th Cir. 2002),

certiorari denied 538 U.S. 1012, 123 S.Ct. 1929, 155 L.Ed.2d 848 (2003),

quoting Pacific Ins. Co. v. American Nat’l Fire Ins. Co., 148 F.3d 398, 403 (4 th

Cir. 1998), certiorari denied 525 U.S. 1104, 119 S.Ct. 869, 142 L.Ed.2d 771

(1999). “Rule 59(e) motions may not be used, however, to raise arguments

which could have been raised prior to the issuance of the judgment, nor may

they be used to argue a case under a novel legal theory that the party had the



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        Apprendi v. New Jersey, 530 U.S. 466, 120 S.Ct. 2348, 147 L.Ed.2d 435 (2000);
Blakely v. Washington, 542 U.S. 296, 124 S.Ct. 2531, 159 L.Ed.2d 403 (2004); United
States v. Booker, 543 U.S. 220, 125 S.Ct. 738, 160 L.Ed.2d 621 (2005).


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       The Petitioner did not move pursuant to Rule 59(e) but merely cited Rule 59. In
any event, the motion is untimely. Fed.R.Civ.P. 59(b) & (e).

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ability to address in the first instance.” Id. Finally, “mere disagreement [with

the Court’s ruling] does not support a Rule 59(e) motion.” Hutchinson v.

Staton, 994 F.2d 1076, 1082 (4 th Cir. 1993).

      Although the Petitioner has parroted the language of Rule 59, none of

these circumstances apply.     The Petitioner clearly seeks to relitigate the

claims raised in his first two motions pursuant to §2255. The claims asserted

in this motion directly attack the Petitioner’s conviction and sentence and have

been previously addressed by this Court as well as the Fourth Circuit. See,

Garcia v. United States, 1:05cv30 [Doc. 2]; Garcia v. United States, 1:05cv209

[Doc. 3]; United States v. Garcia, 180 Fed.Appx. 434 (4 th Cir. 2006). The

Petitioner is continuing to attack his conviction and sentence and, as a result,

this Court does not have jurisdiction to consider the motion because it is an

attempt to circumvent the restriction on successive §2255 motions. United

States v. Winestock, 340 F.3d 200, 203 (4 th Cir. 2003), certiorari denied 540

U.S. 995, 124 S.Ct. 496, 157 L.Ed.2d 395 (2003) (petitioner may not

circumvent the restriction on successive §2255's by attaching a different label

to the pleading).

      Moreover, even if a new claim had been alleged, allowing the Petitioner

to raise it under the guise of Rule 59 would defeat the requirement of



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§2255(h) that subsequent claims be certified by a court of appeals. Id., at

207; see, e.g., United States v. Little, 325 Fed.Appx. 241 (4 th Cir. 2009);

United States v. Mann, 141 Fed.Appx. 175 (4 th Cir. 2005), certiorari denied

549 U.S. 1056, 127 S.Ct. 662, 166 L.Ed.2d 520 (2006) (“Mann’s self-styled

motion under Rule 59(e) is, in substance, a successive motion attacking his

conviction and sentence under §2255.”); accord, United States v. Martin, 132

Fed.Appx. 450 (4 th Cir. 2005); Stewart v. United States, 2008 WL 4980388

(W.D.N.C. 2008), appeal dismissed 328 Fed.Appx. 262 (4 th Cir. 2009).

     To the extent an argument could be made that the motion is actually one

pursuant to Federal Rule of Criminal Procedure 33 for a new trial, the motion

was made more than five years after the Petitioner’s verdict. It is therefore

untimely. Fed.R.Crim.P. 33.



                                  ORDER

     IT IS, THEREFORE, ORDERED that the Petitioner’s pro se Motion for

Rule 59 [Doc. 11] is hereby DENIED.

     IT IS FURTHER ORDERED that the Petitioner’s pro se motion for an

extension of time [Doc. 12] is hereby DENIED as moot.

     The Petitioner is placed on notice that should he desire to file a motion



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pursuant to 28 U.S.C. §2255, he must make application for certification of a

successive motion to the United States Fourth Circuit Court of Appeals.

     The Clerk of Court is instructed to terminate Documents 442 and 443 in

Criminal Case No. 1:01cr52-7.



                                     Signed: April 29, 2010




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